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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


 JOHN DOE and JANE DOE,

         Plaintiffs-Counterclaim Defendants,

 v.                                                 Case No. 3:22-cv-49-RSB-JCH

 JOSHUA MAST, STEPHANIE MAST, and
 RICHARD MAST,

         Defendants-Counterclaim Plaintiffs,

 KIMBERLY MOTLEY,

         Defendant.


        PLAINTIFFS’ MOTION TO DISMISS DEFENDANTS’ COUNTERCLAIMS

        Plaintiffs John and Jane Doe, by counsel and pursuant to Federal Rule of Civil Procedure

12(b)(1) and 12(b)(6), move this Court to dismiss the counterclaims brought by Defendants Joshua

and Stephanie Mast (ECF 467) and Richard Mast (ECF 470). The specific grounds for this Motion

are set forth in the attached Memorandum of Law.

        Dated: September 11, 2024           Respectfully submitted,

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                                              Counsel for Plaintiffs John and Jane Doe

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of September, 2024, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

to all CM/ECF participants.

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